  Case 3:12-cr-00088-DCB-FKB   Document 379   Filed 10/14/15   Page 1 of 2



             IN THE UNITED STATES DISTRICT COURT FOR
               THE SOUTHERN DISTRICT OF MISSISSIPPI
                          WESTERN DIVISION


UNITED STATES

VS.                                 CRIMINAL NO. 3:12-cr-88(DCB(FKB)
                                    CIVIL ACTION NO. 5:15-cv-27(DCB)

BOOKER TARVIN                                                    DEFENDANT


                                 ORDER

      This cause is before the Court on counsel for defendant’s ore

tenus motion to extend time to file notice of appeal.           A response

from the Government is not necessary.           Having considered the

motion, the Court finds that it should be granted.

      Pursuant to Rule 4(b)(1) of the Federal Rules of Appellate

Procedure, a criminal defendant has fourteen (14) days after the

entry of judgment to file a notice of appeal.         This was reflected

in the Court’s Memorandum Opinion and Order of September 25, 2015.

Therefore, the final day for the defendant to file a timely notice

of appeal was October 8, 2015.     However, pursuant to Rule 4(b)(4)

of the Federal Rules of Appellate Procedure, a district court may

grant an additional thirty (30) days in which to file a notice of

appeal upon a finding of excusable neglect or good cause.              Since

the defendant’s counsel made her ore tenus motion within the

additional thirty (30) day period, the Court must determine whether

the untimely filing of the notice of appeal was due to excusable

neglect or good cause.    It appears to the Court that counsel for

the defendant simply made a mistake with regard to computing the
  Case 3:12-cr-00088-DCB-FKB   Document 379   Filed 10/14/15   Page 2 of 2



time for filing a notice of appeal.       In light of the fact that the

notice of appeal would have been timely filed, the Court finds that

it is unlikely the Government will suffer any prejudice, and that

the   defendant   would   be   greatly    prejudiced    by     the   Court’s

disallowance of his appeal.      Accordingly, any failure to file a

timely notice of appeal was excusable under Fed.R.App. 4(b)(4). It

is, therefore,

      ORDERED that the defendant’s motion to extend time to file

notice of appeal is GRANTED;

      FURTHER ORDERED that the defendant file his notice of appeal

on or before November 6, 2015.

      SO ORDERED, this the 14th day of October, 2015.



                                         /s/ David Bramlette
                                         UNITED STATES DISTRICT JUDGE




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